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                                         UNITED ST ATES DISTRICT COURT
                                          MIDDLE DISTRICT OF FLORIDA

                                                 SPECIAL ADMISSION
                                              ATTORNEY CERTIFICATION
  This attorney certification form and the information contained herein neither replaces nor supplements the filing and service of
  pleadings, motions, or other papers as required by law, rule, or court order. This form is required for use by the Clerk of Court in
  furtherance of the Guidelines and Plan Administration of Non-Appropriated Funds as adopted by thi s Court and this form will not
  be handled as a pleading, motion, or other paper filed in a case before the Court.


  Zijad Bosnic

  Plaintiff{s)/Petitioner(s),

  V.
                                                                                      CASE No.     3: 17-cv-826-J-32JBT
  Andrew McCabe, et al



  Defendant( s)/Respondent( s)




  I, Lena F. Masri, Esq.
                                                                    (pro hac vice counsel), hereby submit this attorney certification form

  to the Court on behalf of Zijad Bosnic                                                                             p arty represented).
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  ATTORNEY [NFORMA TJON
  F" N      Council on American-Islamic Relations
   1rm ame: - - -- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -- - - - - -
  Address: 453 New Jersey Ave SE

  City: Washington                                                             DC_ _ _ _ _ _ _Zip
                                                                        State: _                             20003

  Firm/Business Phone: (2 0 2 ) 4 8 - 8787
                                    ?                                   Alternate Phone: (2 0 2 ) ?42 - 642 0_
                          - - - - -- - - - - - -- - -
  Fi rm/Business Fax: _ (_2_0_2_)_3_7_9_-3_3
                                           _1_7_ _ _ _ _ _ __

  E-mail Address:       lmasri@cair.COm

  ATTORNEY CERTJF[CA TJON

  I certify that:

  I.         To my knowledge there are NO disciplinary or suspension proceedings pending against me in any Court of the United
             States or of any State, Territory, or Possession of the United States. NOTE: If proceedings ARE pending at this time,
             please explain at the bottom or back of this form.
  2.         I am not a resident of the State of Florida.
  3.         I do not make frequent or regular appearances in separate cases to such a degree as to constitute the maintenance of a
             regular practice of law in the State of Florida.
  4.         Within the twelve (12) month period preceding the date of this attorney certification, I have read the most current
                            Local Rules of the United States District Court for the Middle District of Florida.

                            of perjury that the foregoin_g is true and correct.

                                                                                       07/26/2017
                                                                                       Date

  Revised 0J /01 / 15                                                                                               Page I of2
